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  8                        UNITED STATES DISTRICT COURT
  9                      SOUTHERN DISTRICT OF CALIFORNIA
 10   UNITED STATES OF AMERICA,                    Case No. 15cr0575-GPC
 11                      Plaintiff,                AMENDED ORDER OF
                                                   CRIMINAL FORFEITURE
 12         v.
 13   JOSE ESPINOZA (2),
         aka “Tio,”
 14      aka “Vecino,”
 15                      Defendant.
 16
 17        On July 21, 2016, this Court entered its Preliminary Order of Criminal
 18 Forfeiture, which condemned and forfeited to the United States all right, title and
 19 interest of Defendant JOSE ESPINOZA (2) ("Defendant") in the properties listed in
 20 the Forfeiture Allegation of the Superseding Indictment, namely,
 21        a.    One 2007 Maroon Nissan X-Terra, California license plate
                 PERDDO, VIN 5N1AN08W37C514847, and
 22
           b.    $4,900.00 in U.S. Currency.
 23
 24        For thirty (30) consecutive days ending on August 24, 2016, the United States
 25 published on its forfeiture website, www.forfeiture.gov, notice of the Court's Order
 26 and the United States' intent to dispose of the properties in such manner as the
 27 Attorney General may direct, pursuant to 21 U.S.C. § 853(n) and Rule G(4) of the
 28 Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions,
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  1 and further notifying all third parties of their right to petition the Court within thirty
  2 (30) days of the final publication for a hearing to adjudicate the validity of their
  3 alleged legal interest in the properties.
  4         There were no potential third parties known to the United States to have
  5 alleged an interest in the forfeited properties; therefore, no one was provided with
  6 direct notice of the forfeiture.
  7         Thirty (30) days have passed following the final date of notice by publication,
  8 and no third party has made a claim to or declared any interest in the forfeited
  9 properties described above.
 10         Accordingly, IT IS HEREBY ORDERED, ADJUDGED AND DECREED
 11 that, as a result of the failure of any third party to come forward or file a petition for
 12 relief from forfeiture as provided by law, all right, title and interest of JOSE
 13 ESPINOZA (2) and any and all third parties in the following properties are hereby
 14 condemned, forfeited and vested in the United States of America:
 15         a.     One 2007 Maroon Nissan X-Terra, California license plate
                   PERDDO, VIN 5N1AN08W37C514847, and
 16
            b.     $4,900.00 in U.S. Currency.
 17
 18         IT IS FURTHER ORDERED that costs incurred by the United States
 19 Marshals Service, the Drug Enforcement Administration and any other governmental
 20 agencies which were incident to the seizure, custody and storage of the properties be
 21 the first charge against the forfeited properties.
 22         IT IS FURTHER ORDERED that the United States Marshals Service shall
 23 dispose of the forfeited properties according to law.
 24
 25                 Dated: September 27, 2016
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 28
                                           -2-                             15cr0575
